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11   AIRPORT TERMINAL SERVICES, INC.
12                        UNITED STATES DISTRICT COURT
13        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
14
15    DARIUS MAYES, an individual, on          Case No.: 2:19-cv-10914 MWF (SSx)
      behalf of himself and others similarly
16                                             Assigned for All Purposes To:
      situated,
17                                             Hon. Michael W. Fitzgerald
                          Plaintiff,           Courtroom 5A, First Street Courthouse
18
19                  vs.                        JOINT STIPULATION
                                               REQUESTING DISMISSAL
20                                             PURSUANT TO RULE 41
      AIRPORT TERMINAL SERVICES,
21    INC., a Missouri corporation; and
      DOES 1 through 50, inclusive,
22
23                        Defendants.
                                               Original Complaint: November 21, 2019
24                                             Removed: December 27, 2019
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               JOINT STIPULATION REQUESTING DISMISSAL PURSUANT TO RULE 41
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 1         Plaintiff DARIUS MAYES (hereinafter “Plaintiff”) and Defendant AIRPORT
 2   TERMINAL SERVICES, INC. (“Defendant”) (with Plaintiff, “the parties”) have
 3   reached a Settlement of Plaintiff’s remaining individual claims, and pursuant to Rule
 4   41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure stipulate to dismissal of this
 5   action as follows:
 6         WHEREAS, the parties filed a Joint Notice of Settlement on July 6, 2021
 7   informing the Court they had reached a settlement of Plaintiff’s individual claims
 8   against Defendant in light of the settlement in the previously filed class action
 9   entitled Cisneros v Airport Terminal Services, Inc., CD Cal. Case No. 2:19-cv-2798-
10   VAP-SP;
11         WHEREAS the Court remained patient in setting then continuing further
12   status conferences and orders to show cause re: dismissal while the parties worked
13   to finalize and execute their Settlement Agreement;
14         WHEREAS, the parties have finalized and executed a Settlement and Release
15   Agreement (“Settlement”) agreeing to dismissal of Plaintiff’s individual claims with
16   prejudice and pursuant to the Settlement request that the Court dismiss Plaintiff’s
17   remaining class and PAGA claims with prejudice as to Plaintiff and dismiss the
18   remaining claims of all others without prejudice;
19         WHEREAS, the parties submit that, given the ongoing settlement approval
20   process in the Cisneros action and the fact that no prior notice has been mailed or
21   otherwise provided to absent putative class members and aggrieved employees, they
22   do not require any notice of the dismissal of the class and PAGA claims in this
23   action pursuant to Rule 41 and Rule 3.770 of the California Rules of Court;
24         WHEREAS, the parties would like to dismiss the remaining claims in this
25   action in light of and pursuant to their Settlement.
26         NOW THEREFORE, the parties jointly stipulate to the dismissal of this
27   action, with prejudice as to Plaintiff’s individual claims and the class and PAGA
28   claims as to him, in accordance with Rule 41(a)(l)(A)(ii) of the Federal Rules of

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 1   Civil Procedure, with each party to bear his, her, or its own costs, except as
 2   otherwise provided in the Settlement.
 3   IT IS SO STIPULATED.
 4         Plaintiff’s undersigned counsel certifies that he has conferred with
 5   Defendant’s undersigned counsel who found the content of the document for filing
 6   acceptable and authorized the submission of this document to the Court with his
 7   below electronic signature.
 8
 9   DATED: November 8, 2021                 DAVID YEREMIAN & ASSOCIATES
10                                            By /S/ Alvin B. Lindsay
11                                              David Yeremian
                                                Alvin B. Lindsay
12                                              Attorneys for Plaintiff DARIUS MAYES

13
     DATED: November 8, 2021                  SEYFARTH SHAW LLP
14
                                              By /S/ Aaron R. Lubeley
15                                              Aaron R. Lubeley
                                                Attorneys for Defendant
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               JOINT STIPULATION REQUESTING DISMISSAL PURSUANT TO RULE 41
